                          Case 21-14978-abl                Doc 1       Entered 10/19/21 00:43:34                   Page 1 of 16


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SILVER STATE BROADCASTING, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6725 VIA AUSTI PARKWAY                                          P.O. BOX 1300
                                  LAS VEGAS, NV 89119                                             FAIR OAKS, CA 95628
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 21-14978-abl                  Doc 1         Entered 10/19/21 00:43:34                       Page 2 of 16
Debtor    SILVER STATE BROADCASTING, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    SILVER STATE BROADCASTING, LLC                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   SILVER STATE BROADCASTING, LLC                                          Case number (if known)
         Name

                          $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                          $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                          $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    SILVER STATE BROADCASTING, LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 19, 2021
                                                  MM / DD / YYYY


                             X   /s/ EDWARD R. STOLZ                                                      EDWARD R. STOLZ
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ STEPHEN R. HARRIS                                                     Date October 19, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 STEPHEN R. HARRIS
                                 Printed name

                                 HARRIS LAW PRACTICE LLC
                                 Firm name

                                 6151 LAKESIDE DRIVE
                                 SUITE 2100
                                 Reno, NV 89511
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     775-786-7600                  Email address      steve@harrislawreno.com

                                 001463 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     SILVER STATE BROADCASTING, LLC                                                    Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                    Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     GOLDEN STATE BROADCASTING, LLC                                           Relationship to you               AFFILIATE
District   NEVADA                                     When     10/19/21             Case number, if known
Debtor     MAJOR MARKET RADIO LLC                                                   Relationship to you               AFFILIATE
District   NEVADA                                     When     10/19/21             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 6
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 Fill in this information to identify the case:

 Debtor name         SILVER STATE BROADCASTING, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 19, 2021                        X /s/ EDWARD R. STOLZ
                                                                       Signature of individual signing on behalf of debtor

                                                                       EDWARD R. STOLZ
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name SILVER STATE BROADCASTING, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CROWN CASTLE                                                    TRANSMITTER            Contingent                                                                                $0.00
 MU LLC                                                          LEASE DISPUTE          Unliquidated
 c/o TODD                                                                               Disputed
 KARTCHNER, ESQ.
 FENNEMORE
 CRAIG
 2394 E.
 CAMELBACK
 ROAD, STE. 600
 PHOENIX, AZ 85016
 DARIUSH G. ADLI,                                                LEGAL FEES             Contingent                                                                                $0.00
 ESQ.                                                                                   Unliquidated
 ADLI LAW GROUP,                                                                        Disputed
 P.C.                                                                                   Subject to
 12400 WILSHIRE                                                                         Setoff
 BLVD., SUITE 1460
 LOS ANGELES, CA
 90025
 DAVID MINCIN,                                                   UNKNOWN                Contingent                                                                                $0.00
 ESQ.                                                                                   Unliquidated
 MINCIN LAW PLLC                                                                        Disputed
 7465 W. LAKE
 MEAD PKWY #100
 LAS VEGAS, NV
 89128
 DIG MCC, LLC                                                    CLAIMS FOR    Contingent                                                                                         $0.00
 c/o TERRY A.                                                    LEASE ARREARS Unliquidated
 MOORE, ESQ.                                                                   Disputed
 MARQUIS,
 AURBACH,
 COFFING
 10001 PARK RUN
 DRIVE
 LAS VEGAS, NV
 89145




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    SILVER STATE BROADCASTING, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 VCY AMERICA                                                     POTENTIAL              Contingent                                                                                $0.00
 c/o DUANE C.                                                    CLAIMS ARISING         Unliquidated
 POZZA, ESQ.                                                     FROM                   Disputed
 WILEY REIN LLP                                                  PROPOSED
 1776 K STREET NW                                                PURCHASE OF
 WASHINGTON, DC                                                  RECEIVERSHIP
 20006                                                           ASSETS
 W. LAWRENCE                                                     CLAIMS FOR             Disputed                                                                        $590,340.00
 PATRICK                                                         RECEIVER FEES          Subject to
 c/o GLASER WEIL                                                 AND ATTORNEY           Setoff
 FINK HOWARD ET                                                  FEES
 AL.
 10250
 CONSTELLATION
 BLVD.
 19TH FLOOR
 LOS ANGELES, CA
 90067




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      SILVER STATE BROADCASTING, LLC                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities                        Kind of Interest
 business of holder
 EDWARD R. STOLZ                                                                      100 PERCENT                                MEMBER
 P.O. BOX 1300
 FAIR OAKS, CA 95628


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 19, 2021                                                         Signature /s/ EDWARD R. STOLZ
                                                                                            EDWARD R. STOLZ

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      SILVER STATE BROADCASTING, LLC                                                            Case No.
                                                                                    Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 19, 2021                                            /s/ EDWARD R. STOLZ
                                                                         EDWARD R. STOLZ/Manager
                                                                         Signer/Title




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                  SILVER STATE BROADCASTING, LLC
                  P.O. BOX 1300
                  FAIR OAKS, CA 95628

                  STEPHEN R. HARRIS
                  HARRIS LAW PRACTICE LLC
                  6151 LAKESIDE DRIVE
                  SUITE 2100
                  RENO, NV 89511

                  INTERNAL REVENUE SERVICE
                  P O BOX 7346
                  PHILADELPHIA, PA 19101-7346

                  NEVADA DEPARTMENT OF MOTOR VEHICLES
                  LEGAL DIVISION
                  855 WRIGHT WAY
                  CARSON CITY, NV 89711

                  NEVADA DEPARTMENT OF TAXATION
                  BANKRUPTCY SECTION
                  555 E. WASHINGTON
                  STE 1300
                  LAS VEGAS, NV 89101

                  NEVADA LABOR COMMISSION
                  1818 E. COLLEGE DRIVE
                  #102
                  CARSON CITY, NV 89706

                  OFFICE OF THE UNITED STATES TRUSTEE
                  300 BOOTH STREET ROOM 3009
                  RENO, NV 89509

                  CROWN CASTLE MU LLC
                  C/O TODD KARTCHNER, ESQ.
                  FENNEMORE CRAIG
                  2394 E. CAMELBACK ROAD, STE. 600
                  PHOENIX, AZ 85016

                  DARIUSH G. ADLI, ESQ.
                  ADLI LAW GROUP, P.C.
                  12400 WILSHIRE BLVD., SUITE 1460
                  LOS ANGELES, CA 90025

                  DAVID MINCIN, ESQ.
                  MINCIN LAW PLLC
                  7465 W. LAKE MEAD PKWY #100
                  LAS VEGAS, NV 89128

                  DIG MCC, LLC
                  C/O TERRY A. MOORE, ESQ.
                  MARQUIS, AURBACH, COFFING
                  10001 PARK RUN DRIVE
                  LAS VEGAS, NV 89145
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              EDWARD R. STOLZ
              P.O. BOX 1300
              FAIR OAKS, CA 95628

              GOLDEN STATE BROADCASTING, LLC
              P.O. BOX 1300
              FAIR OAKS, CA 95628

              MAJOR MARKET RADIO LLC
              P.O. BOX 1300
              FAIR OAKS, CA 95628

              VCY AMERICA
              C/O DUANE C. POZZA, ESQ.
              WILEY REIN LLP
              1776 K STREET NW
              WASHINGTON, DC 20006

              W. LAWRENCE PATRICK
              C/O GLASER WEIL FINK HOWARD ET AL.
              10250 CONSTELLATION BLVD.
              19TH FLOOR
              LOS ANGELES, CA 90067
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      SILVER STATE BROADCASTING, LLC                                                              Case No.
                                                                                    Debtor(s)           Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SILVER STATE BROADCASTING, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 October 19, 2021                                                       /s/ STEPHEN R. HARRIS
 Date                                                                   STEPHEN R. HARRIS
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for SILVER STATE BROADCASTING, LLC
                                                                        HARRIS LAW PRACTICE LLC
                                                                        6151 LAKESIDE DRIVE
                                                                        SUITE 2100
                                                                        Reno, NV 89511
                                                                        775-786-7600 Fax:775-786-7764
                                                                        steve@harrislawreno.com




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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      SILVER STATE BROADCASTING, LLC                                                                Case No.
                                                                                    Debtor(s)             Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
       I, EDWARD R. STOLZ, declare under penalty of perjury that I am the Manager of SILVER STATE
BROADCASTING, LLC,    and that the following is a true and correct copy of the resolutions adopted by the Board of
Directors of said corporation at a special meeting duly called and held on the 18TH day of October, 20 21.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that EDWARD R. STOLZ, Manager of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that EDWARD R. STOLZ, Manager of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that EDWARD R. STOLZ, Manager of this Corporation is authorized and directed to
employ STEPHEN R. HARRIS, attorney and the law firm of HARRIS LAW PRACTICE LLC to represent the corporation
in such bankruptcy case."

 Date      October 18, 2021                                                       Signed   /s/ EDWARD R. STOLZ
                                                                                           EDWARD R. STOLZ




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                 SILVER STATE BROADCASTING, LLC




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that EDWARD R. STOLZ, Manager of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that EDWARD R. STOLZ, Manager of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that EDWARD R. STOLZ, Manager of this Corporation is authorized and directed to
employ STEPHEN R. HARRIS, attorney and the law firm of HARRIS LAW PRACTICE LLC to represent the corporation
in such bankruptcy case.

 Date      October 18, 2021                                                      Signed    /s/ EDWARD R. STOLZ



 Date      October 18, 2021                                                      Signed




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